 Case 1:21-cv-01133-RGA Document 8 Filed 11/22/21 Page 1 of 10 PageID #: 27




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

KARI LYNN OVERINGTON                          )
                                              )
                 Plaintiff,                   )
                                              )
            v.                                )       C.A. No. 21-1133 RGA
                                              )
                                              )
LEVI FISHER, et al.,                          )
                                              )
                 Defendants.                  )

                        DEFENDANTS LEVI FISHER, JANA SIMPLER
                       AND NICOLE MAJESKI’S MOTION TO DISMISS

       Defendants Levi Fisher (“Fisher”), Delaware Division of Motor Vehicles (“DMV”)

Director Jana Simpler (“Director Simpler”) and Secretary of the Delaware Department of

Transportation (“DelDOT”) Nicole Majeski (Secretary Majeski”) (jointly “Defendants”), by and

through the undersigned counsel, hereby move that Plaintiff Kari Lynn Overington (“Ms.

Overington” or “Plaintiff”) (D.I. 2) be dismissed. The grounds for this motion are as follows:

       Factual Background:

       1.        DMV Regulation number 2285 regulates Vanity License Plates in Delaware. The

Regulation expresses the viewpoint neutral intent to “ensure obscene license plates are not issued.”

Regulation 2285, § 1.1. The issue of vanity license plates and the contents of same, weighed

against an individual’s First Amendment rights has been considered by a number of jurisdictions

of late as individuals seek to push the boundaries of what personal message can be displayed on

their vehicle’s state-owned license plate. This lawsuit is one of those instances where an individual

seeks to push the boundaries of what DMV will permit to be displayed on a vanity license plate,

to allow the display of profanity.




                                                  1
    Case 1:21-cv-01133-RGA Document 8 Filed 11/22/21 Page 2 of 10 PageID #: 28




         2.       Ms. Overington applied for the vanity license plate “FCANCER” in December

2020, during the COVID 19 pandemic when the staff and resources of all state agencies, including

DMV, were being stretched to their breaking point. As a result, the license plate FCANCER was

inadvertently approved. As the restrictions of the pandemic were lifted, DMV undertook to review

vanity license plates which had been issued to determine if any license plates had been issued

which were not in compliance with DMV’s regulation. During that review, DMV identified the

FCANCER license plate as being in violation of the regulation, and as having been issued in error.

DMV then sent a letter to Ms. Overington recalling the license plate. (Exhibit 1). 1 The June 23,

2021 letter indicated that the vanity plate was being recalled and a refund would be issued to Ms.

Overington.

         3.       The letter resulted in Ms. Overington writing to Secretary Majeski on June 30,

2021. Exhibit 2. That email lays out the history of the issuance of the vanity license plate as well

as Ms. Overington’s opinion that the license plate is not obscene, despite the clear inclusion of a

recognized abbreviation of the work “F#&K” in the license plate. After having the opportunity to

investigate the issue, Secretary Majeski responded on July 12, 2021 confirming the license plate

was issued in error. Exhibit 3. Secretary Majeski’ s email is significant for it states the standard

applied to the decision to revoke the license plate. The license plate was revoked because DMV

uses a viewpoint neutral evaluation process and does not allow license plates which contain

“obscenity, vulgarity, profanity, hate speech or fighting words.” Id. Secretary Majeski further



1
 Defendants attach the various correspondence which outlines the timeline and reasons provided for the revocation
of the license plate. Defendants contend that the correspondence which constitutes the agency action upon which
Ms. Overington’ s complaint is premised are not matters outside of the pleadings such as to convert this motion to a
motion for summary judgment under Rule 12(d) as Ms. Overington should have attached the documents which
constitute the agency action to her complaint ab initio since it is the very agency action of which she is complaining.
Moreover, the Complaint references and quotes to the communications but does not attach them. Thus
consideration of the documents is not only appropriate as consideration of the allegations in the Complaint and this
Motion but required.

                                                           2
 Case 1:21-cv-01133-RGA Document 8 Filed 11/22/21 Page 3 of 10 PageID #: 29




discussed and advised that the inclusion of an abbreviation for the profanity “F*@K” was the

reason it was recalled. Id. Secretary Majeski also offered to work with Ms. Overington on a revised

license plate which would not contain profanity.

       4.      Ms. Overington then responded on July 13, 2021 to Secretary Majeski contesting

the decision to stand by the revocation of the license plate containing the abbreviation for the word

“F*@K”. Exhibit 3. Ms. Overington’s Complaint, after the fact, attempts to craftily avoid

admitting that the abbreviation she has used clearly stands for the profanity “F*@K”. Secretary

Majeski responded to Ms. Overington on July 14, 2021 advising that she had provided the

information regarding Ms. Overington’s plea to the Office of the Governor. Exhibit 4. Ms.

Overington then responded via email admitting that the abbreviated “F” on her license plate stood

for the profane word “F*@K”. Id. Ms. Overington then argues that it doesn’t matter what the “F”

stands for as she should be permitted to have the license plate issued as the plate doesn’t contain

the actual word “F*@K”. Id.

       5.      At the request of Secretary Majeski, Director Simpler responded to Ms. Overington

via email on July 22, 2021. Exhibit 5. In that email, Director Simpler acknowledged Ms.

Overington’s admission that the “F” on her license plate stood for the word “F*@K”. Director

Simpler then discussed both the standard applied by DMV in determining to revoke the license

plate, that license plates may not contain “obscenity, vulgarity, profanity, hate speech or fighting

words.” Id. Director Simpler then discussed how the word “F*@K” is one that continues to be

identified by various agencies, including the Federal Communications Commission (“FCC”), as

profanity which is not appropriate or permitted to be used on broadcast television. Director

Simpler confirmed that as the Director, she is the final arbiter of issues involving vanity license

plates issued by the DMV. This lawsuit then followed.



                                                   3
  Case 1:21-cv-01133-RGA Document 8 Filed 11/22/21 Page 4 of 10 PageID #: 30




        I.      The Motion to Dismiss Standard.

        6.      Evaluating a motion to dismiss under Fed. R. Civ. P. 12(b)(6) requires the Court to

accept as true all material allegations of the complaint. See Spruill v. Gillis, 372 F.3d 218, 223 (3d

Cir. 2004). “The issue is not whether a plaintiff will ultimately prevail but whether the claimant

is entitled to offer evidence to support the claims.” In re Burlington Coat Factory Sec. Litig., 114

F.3d 1410, 1420 (3d Cir. 1997) (internal quotation marks omitted). “To survive a motion to

dismiss, a civil plaintiff must allege facts that ‘raise a right to relief above the speculative level on

the assumption that the allegations in the complaint are true (even if doubtful in fact).’” Victaulic

Co. v. Tieman, 499 F.3d 227, 234 (3d Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555 (2007)). Under this standard, the Court is not obligated to accept as true “bald assertions,”

Morse v. Tower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997) (internal quotation marks

omitted), “unsupported conclusions and unwarranted inferences,” Schuylkill Energy Res., Inc. v.

Pennsylvania Power & Light Co., 113 F.3d 405, 417 (3d Cir. 1997), or allegations that are “self-

evidently false.” Nami v. Fauver, 82 F.3d 63, 69 (3d Cir. 1996).

        II.     Ms. Overington’s Complaint fails to state a claim and should be dismissed.

        7.      Ms. Overington’s complaint attempts to ignore her own admissions as to the true

meaning of the phrase “FCANCER” and her admission that the “F” does in fact stand for a word

that is profanity, “F*@K”. Ms. Overington’s complaint fails to state a claim as to the statutory

challenge and seeking a declaration that the regulation is unconstitutional where the standard that

was applied in evaluating her request was not some vague or ambiguous standard but instead a

viewpoint neutral standard that Chief Justice Roberts has indicated would exclude certain words

as “outside the scope of the First Amendment’s protections.” Ogilvie v. Gordon, 2020 WL

10963945, at * 6 (ND Cal. Nov. 24, 2020), citing, Iancu v. Bruntetti, 139 S. Ct. 2294, 2303 (2019).



                                                    4
 Case 1:21-cv-01133-RGA Document 8 Filed 11/22/21 Page 5 of 10 PageID #: 31




       8.      The Ogilvie Court, while reserving final decision on the issue, did note that “[m]ost

courts that have considered the question have decided that license plates are a nonpublic forum.”

Id. at*4. See, Bujno v. Commonwealth, Dept. of Motor Vehicles, 2012 WL 10638166 (Va. Cir. Ct.,

Nov. 2, 2012); Perry v. McDonald, 280 F.3d 159 (2nd Cir., Oct. 17, 2001). “[L]icense plates ‘are

government property upon which [a state] has allowed some limited private expression in the form

of vanity plates.” Id. citing, Hart, 422 F. Supp. 3d 1227, 1233 (E.D. Kentucky, Nov. 13, 2019). In

this instance, DMV, through Director Simpler and DelDOT Secretary Majeski, has applied a

viewpoint neutral standard to the non-public forum of vanity license plates to review Ms.

Overington’s submission. The standard applied at all levels of review was the very standard

promulgated by Chief Justice Roberts. Further, Director Simpler and Secretary Majeski, as part

of their evaluation of the matter on further review, received written confirmation from Ms.

Overington that the “F” in “FCANCER” in fact stood for profanity before rendering a final

decision confirming the license plate as withdrawn.

       9.      The viewpoint neutral standard applied by Director Simpler and Secretary Majeski

is “(1) ‘reasonable in light of the purpose served by the forum,’ and (2) ‘based on a standard that

is definite and objective.’” Ogilvie, at * 6, citing Seattle Mideast Awareness Campaign v. King

County, 781 F.3d 489, 499 (9th Cir. 2015). License plates are used to identify vehicles for

numerous purposes, including traffic stops by law enforcement, vehicle registration,

tracking/charging for use of toll roads and also to generate revenue for DMV. DMV has allowed

some level of personal expression on vanity license plates, so long as that expression does not run

afoul of the words which Chief Justice Roberts identified as not being entitled to First Amendment

protections. Viewpoint neutral review is possible and such a viewpoint neutral review was

undertaken with regards to Ms. Overington where a word that the FCC prohibits on broadcast



                                                 5
 Case 1:21-cv-01133-RGA Document 8 Filed 11/22/21 Page 6 of 10 PageID #: 32




television was prohibited on a State of Delaware license plate. There is an objective, workable

standard to evaluate whether something is obscenity, vulgarity, profanity, hate speech or fighting

words and DMV has applied that workable standard in the present instance.

       10.     Ms. Overington’s desire to include a recognized abbreviation for a profanity is

similar to the prohibited scatological references discussed by the Second Circuit in Perry was

found to reflect “a legitimate government concern.” Perry at 169. The governments’ purpose of

“protecting the public, especially young children, from offensive and indecent speech” was a valid

reason for denial of a vanity plate including the profanity “S#&T.” Id. Just as the Vermont DMV

had the legitimate governmental purpose in not allowing the word “S#&T” on their state’s license

plates, DMV has a similar interest in not allowing the word “F*@K” on Delaware license plates.

       11.     As the vanity license plates are a non-public forum, in which DMV retains the right

to preclude the use of profanity, which would portray the state in a bad light as endorsing certain

language, and the standard applied to Ms. Overington was viewpoint neutral, the claims of Ms.

Overington should be dismissed as failing to state a claim.

       III.    The claims against the Defendants in their individual capacity should be
               dismissed pursuant to the doctrine of Qualified immunity.

       12.     Governmental officials sued in their individual capacity for §1983 claims are

entitled to qualified immunity unless certain elements are established. See Wright v. City of

Philadelphia, 409 F.3d 595, 599 (3d Cir. 2005) (“When an officer’s actions give rise to a §1983

claim, the privilege of qualified immunity, in certain circumstances, can serve as a shield from

suit.”); Southerland v. Pennsylvania, 389 F. App’x 166, 170 (3d Cir. 2010) (“The doctrine of

qualified immunity serves to protect officers from civil liability.”). Rooted in practical concerns

accompanying litigation, qualified immunity is designed to preserve an official’s ability to

effectively carry out his or her duties, without being unduly hampered by the costs and burdens of


                                                 6
  Case 1:21-cv-01133-RGA Document 8 Filed 11/22/21 Page 7 of 10 PageID #: 33




defending each and every lawsuit. See Thomas v. Indep. Twp., 463 F.3d 285, 291 (3d Cir. 2006)

(“The immunity is intended to protect officials from the potential consequences of suit, including

distractions from official duties, inhibition of discretionary action, and deterrence of able people

from public service.”); Argueta v. U.S. Immigration & Customs Enft, 643 F.3d 60, 73 (3d Cir.

2011) (“If a Government official is to devote time to his or her duties, and to the formulation of

sound and responsible policies, it is counterproductive to require the substantial diversion that is

attendant to participating in litigation and making informed decisions as to how it should

proceed.”). Because qualified immunity is in place to not only immunize an officer from ultimate

liability but also to temper the burdens of litigation, including the ever-increasing costs of

discovery, the Supreme Court has stressed the importance of resolving the issue of immunity at

the earliest possible stage of litigation. See Siegert v. Gilley, 500 U.S. 226, 232 (1991) (instructing

that district courts should move “expeditiously to weed out suits … without requiring a defendant

who rightly claims qualified immunity to engage in expensive and time-consuming preparation to

defend the suit on its merits”); see also Thomas, 463 F.3d at 291 (“The Supreme Court has

admonished that ‘[until] this threshold immunity question is resolved, discovery should not be

allowed.’” (citing Harlow v. Fitzgerald, 457 U.S. at 818 (1982)).

       13.     At the pleading stage, qualified immunity encompasses two related but distinct

inquiries:   First, qualified immunity examines whether the complaint sufficiently pleads a

cognizable constitutional claim against the individual governmental defendants. See Southerland,

389 F. App’x at 170 (“The Supreme Court has distilled the qualified immunity analysis into two

inquiries. First, the constitutional question is “whether the facts that a plaintiff has alleged or

shown make out a violation of a constitutional right.”). Second, qualified immunity asks whether

the constitutional right at issue was clearly established at the time of the purported misconduct.



                                                  7
 Case 1:21-cv-01133-RGA Document 8 Filed 11/22/21 Page 8 of 10 PageID #: 34




See Biddle v. Parker, 2015 WL 5190694, at * 2 (D. Del. Sept. 4 , 2015) (“Qualified immunity

shields government officials from civil damages liability unless the official violated a statutory or

constitutional right that was clearly established at the time of the challenged conduct.” (internal

quotation marks and citation omitted)). If the answer to either of these two inquiries is no, then

qualified immunity requires that the action be dismissed with no right to discovery. See George

v. Rehiel, 738 F.3d 562, 571 (3d Cir. 2013) (explaining that the district court’s finding that the

amended complaint pled a plausible claim was for all intent and purposes an appealable denial of

qualified immunity). This standard gives ample room for mistaken judgments by protecting all

but the plainly incompetent or those who knowingly violate the law. Hunter v. Bryant, 502 U.S.

224, 229 (1991); Gilles v. Davis, 427 F.3d 197, 204 (3d. Cir. 2005).

       14.     In this case, Ms. Overington omitted the communications with Secretary Majeski

and Director Simpler because those communications reveal that none of the Defendants relied

upon a standard which any court has held was improper in evaluating and denying a vanity license

plate. To the contrary, the Defendants relied upon the language, taken verbatim from Ogilvie citing

Chief Justice Roberts as to what types of speech are not protected under the First Amendment.

While Ms. Overington would like to open the debate up to all types of speech and all words used

on vanity license plates, the limited issue raised is one of the application of the standard which

prohibits “obscenity, vulgarity, profanity, hate speech, and fighting words” to a license plate

containing the abbreviation of the word “F*@K”. Defendants relied upon the standard the Courts

have followed in upholding the denial of vanity license plates in cases such as Perry, which banned

scatological references, and Mitchell v. Maryland Motor Vehicle Admin., 126 A.2d 165 (Ct. Sp.

App. Md., Nov. 25, 2015), aff’d, 148 A.3d 319 (Md. Ct. App, Oct. 28, 2016), which banned the

license plate “MIERDA”, which is the Spanish word for “S#&T.” Similarly, the courts have



                                                  8
 Case 1:21-cv-01133-RGA Document 8 Filed 11/22/21 Page 9 of 10 PageID #: 35




allowed the prohibition of references to alcoholic beverages and controlled substances on license

plates. Higgins v. Driver and Motor Vehicle Services Branch, 72 P.3d 628 (Or, July 3, 2002). The

Defendants prohibiting a vanity license plate containing the abbreviation for a profanity the FCC

still prohibits being used on network TV is not a violation of a clearly established constitutional

right. As such, Defendants are entitled to the application of the doctrine of qualified immunity as

to all claims against them in their individual capacity which seek to recover damages.

       15.     Ms. Overington in her emails cited to the decision in Carroll v. Craddock, which

addressed an overbreadth and void for vagueness challenge to a statute in Rhode Island. 2020 WL

5880181 (D. RI, Oct. 2, 2020). Ms. Overington’s reliance is misplaced because in the first

instance, the standard applied in determining to revoke her license plate was the “obscenity,

vulgarity, profanity, hate speech and fighting words” standard discussed in Ogilvie v. Gordon,

2021 WL 10963945 (D. Cal.). Additionally, absent in Carroll, was the administrative fact finding

evidenced by the communications between Secretary Majeski, Director Simpler and Ms.

Overington, where the fact that the proposed abbreviation stood for the profane word “F*@K”

was confirmed.

       16.     In this matter, all of the Defendants applied what they understood to be a

permissible standard, based upon language provided by Chief Justice Robert, to apply a viewpoint

neutral standard of review of speech in a non-public forum. That viewpoint neutral review relied

upon, among other things, the FCC which prohibits the use of the word “F*@K” on broadcast

television. In this instance, the Defendants cannot be found to have knowingly violated the law

and as such, they are entitled to dismissal of all claims against them under the doctrine of qualified

immunity.




                                                  9
 Case 1:21-cv-01133-RGA Document 8 Filed 11/22/21 Page 10 of 10 PageID #: 36




       WHEREFORE, Defendants Levi Fisher, DMV Director Jana Simpler and DelDOT

Secretary Nicole Majeski respectfully request that this Honorable Court dismiss Plaintiff’s claims.

                                                     STATE OF DELAWARE
                                                     DEPARTMENT OF JUSTICE

                                                     /s/ George T. Lees III
                                                     George T. Lees III (I.D. #3647)
                                                     Deputy Attorney General
                                                     Carvel State Building
                                                     820 French Street, 6th Floor
                                                     Wilmington, DE 19801
                                                     George.Lees@Delaware.gov
                                                     (302) 577-8400
                                                     Attorney for Defendants Levi Fisher, Jana
                                                     Simpler and Nicole Majeski




                                                10
